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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                        GREAT FALLS DIVISION

                                                          CV-18-69-GF-BMM
  MONTANA WILDLIFE
  FEDERATION; THE WILDERNESS
  SOCIETY; NATIONAL AUDUBON
  SOCIETY; NATIONAL WILDLIFE
  FEDERATION; and MONTANA                                        ORDER
  AUDUBON,

                   Plaintiffs,

        vs.

  RYAN ZINKE, in his official capacity
  as Secretary if the Interior; DONATO
  JUDICE, in his official capacity as
  Montana Bureau of Land Management
  Deputy State Director; UNITED
  STATES BUREAU OF LAND
  MANAGEMENT; and UNITED
  STATES DEPARTMENT OF THE
  INTERIOR,

                   Defendants,



      Federal Defendants, Defendant-Intervenor State of Wyoming (“Wyoming”),

and Defendant-Intervenor Western Energy Alliance (“Western Energy”) seek to

sever and transfer a portion of this action to the location of the subject lands in the

federal district courts in Wyoming and Nevada. Federal Defendants have asked

this Court to sever the seven claims relating to leasing decisions in Wyoming and

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Nevada. (Doc. 20 at 2). Federal Defendants do not request transfer of the four

claims relating to leasing decisions in Montana. (Id.). The Court conducted a

hearing on these motions on September 18, 2018.

                                          I. Background

       The government amended ninety-eight federal land management plans for

ten Western states in 2015. (Doc. 19 at ¶¶ 2, 42-43; Doc. 21 at 13). These

resource management plan amendments (“2015 Plans”) represented an effort to

develop consistent “conservation measures for the protection of the greater-sage

grouse and its habitat” range-wide. See 76 Fed. Reg. 77,008, 77,009 (Dec. 9,

2011). The 2015 Plans designated lands as Priority Habitat Management Areas

and General Habitat Management Areas (“Habitat Areas”). (Doc. 40 at 10). Each

plan directed BLM to prioritize oil and gas leasing outside these Habitat Areas to

“limit future surface disturbance and encourage new development in areas that

would not conflict with” the greater sage-grouse. (Doc. 19 at ¶ 47).

       BLM issued Instruction Memorandum 2016-143 (“2016 IM”) as guidance

on how the “BLM would exercise the Secretary of the Interior’s discretion with

regard to leasing activities in order to fulfill the conservation commitments in the

[2015] Plans” for the Habitat Areas.1 The 2016 IM directed BLM to adhere to the



1
 BLM, Instruction Memorandum 2016-143, Implementation of Greater Sage-Grouse Resource Management Plan
Revisions or Amendments—Oil and Gas Development Sequential Prioritization (Sept, 1, 2016),
https://goo.gl/qhnCuv.
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2015 Plans. The 2015 Plans include a decision to “prioritize oil and gas leasing

and development outside of identified [Habitat Areas].” Id. at 3 (citing Rocky

Mountain ROD at 1-25; Great Basin ROD at 1-23).

           The 2016 IM directed BLM State Offices to follow a specific “prioritization

sequence” for oil and gas leasing. Id. at 3-5. BLM’s prioritization sequence

instructed BLM to consider first leasing lands outside Habitat Areas and that

“these lands should be first priority for leasing in any given lease sale.” Id. at 4.

General Habitat areas were to be considered next, and Priority Habitat areas were

to be considered last. Id. The 2016 IM clearly directs BLM state offices to follow

the 2015 Plans and protect the Habitat Areas known to house the greater sage-

grouse.

           President Trump issued Executive Order 13783, Promoting Energy

Dependence and Economic Growth, in 2017. (Doc. 40 at ¶ 50). Secretary of the

Interior Ryan Zinke (“Secretary Zinke”) echoed President Trump’s energy

directive and issued Secretarial Order No. 3353 (“Zinke Memo”). (Id. at ¶ 51).

The Zinke Memo directs federal and state agencies to identify provisions in the

2015 Plans and associated policies that “may require modification or recession . . .

in order to give appropriate weight to the value of energy and other development of

public lands . . . and to be consistent with . . . American Energy Independence.”2


2
    Office of the Secretary of the Interior, Secretarial Order 3353 at 5 (Aug. 4, 2017), https://goo.gl/EG5saz.
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The Zinke Memo further directed BLM, the Fish and Wildlife Service, and the

U.S. Geological Survey to provide a report with recommendations. Id.

       BLM’s Washington D.C. Headquarters issued its report.3 The report

identifies opportunities to clarify BLM’s management under the 2015 Plans. The

listed opportunities include, among other things, taking “advantage of flexibility in

the 2015 [Plans] to support energy, mineral, and other development,” and

“allow[ing] adjustments to habitat boundaries . . .” Id. at 2. BLM suggests

rescinding “the National IM and develop . . . specific IMs that include all habitat

types . . . open for leasing” as a short-term option for lease prioritization. Id. at

Appx. A at 2. The BLM further recommended to “clarify to BLM staff that the

plans currently allow leasing in all Greater Sage-Grouse habitat categories.” Id.

       BLM replaced the 2016 IM with Instruction Memorandum 2018-026 (“2018

IM”).4 The 2018 IM removed the prioritization sequence contained in the 2016

IM. The 2018 IM specifically states that “the BLM does not need to lease and

develop outside [Habitat Areas] before considering any leasing and development

within [Habitat Areas].” Id. at 1.

       The claims before the Court hinge on this unambiguous change of policy

and its impact on conservation efforts for the greater sage-grouse habitats.


3
 BLM, Report in Response to Secretarial Order 3353 (Aug. 4, 2017), https://goo.gl/gLc5U9.
4
 BLM, Instruction Memorandum 2018-026, Implementation of Greater Sage Grouse Resource Management Plan
Revisions or Amendments—Oil & Gas Leasing and Development Prioritization Objective (Dec. 27, 2017),
https://www.blm/gov/policy/im-2018-026.
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Plaintiffs allege that Defendants Secretary Zinke, Donato Judice in his official

capacity as Montana Bureau of Land Management State Deputy Director, and the

BLM unlawfully disregarded previously understood, well-settled protections for

sage-grouse populations. Plaintiffs allege that BLM’s 2018 IM stands in direct

conflict with the 2015 Plans. (Doc. 19 at ¶¶ 87-91). The 2018 IM allegedly paved

the way for eleven “final” BLM oil and gas lease sales (four in Montana, four in

Wyoming, and three in Nevada) that collectively impact protected sage-grouse

habitats region-wide. (Doc. 19 at ¶¶ 62-85). Plaintiffs challenge these leasing

decisions, the Zinke Memo, and the 2018 IM as violating the 2015 Plans, the

Federal Land Policy and Management Act (“FLPMA”), the National

Environmental Policy Act (“NEPA”), and the Administrative Procedure Act.

(Doc. 19 at ¶¶ 86-117).

                                   II. Discussion

      Federal Defendants ask this Court to sever the out-of-state claims into two

separate civil actions pursuant to Federal Rule of Civil Procedure 21. Federal

Defendants allege that the out-of-state claims relate to separate administrative

decisions made by local BLM offices in Wyoming and Nevada. (Doc 21 at 17-18).

Federal Defendants seek to transfer these severed claims, pursuant to 28 U.S.C. §

1404, to the federal district courts in the states where BLM issued the leases.

(Doc. 21 at 19-21). The relief sought effectively would displace the pending case

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originally brought in the District of Montana, splinter it into three separate cases, to

be resolved in three separate federal district courts. The Court first must decide

whether Federal Defendants’ motion warrants severance in order to transfer the

out-of-state claims as Federal Defendants request.

   A. Severance of Claims

      District courts possess broad discretion when evaluating whether to sever

claims pursuant to Federal Rule of Civil Procedure 21. Coleman v. Quaker Oats

Co., 232 F.3d 1271, 1297 (9th Cir. 2000). Claims against different parties may be

severed for trial or other proceedings if the court determines that the interests of

justice would be better served by severance. Initiative & Referendum Inst. v. U.S.

Postal Serv., 154 F. Supp.2d 10, 13 (D.D.C. 2001). Severance should be denied

where plaintiffs’ allegations allege a common series of transactions and

occurrences that raise common questions of law and fact applicable to all

defendants. See United Mine Workers v. Gibbs, 383 U.S. 715, 724 (1966).

      The district court in Initiative & Referendum Inst, 154 F. Supp.2d 10, denied

a motion to sever eleven claims that related to issues outside the court’s

jurisdiction that plaintiffs had brought in the same complaint as claims within the

court’s jurisdiction. Plaintiffs challenged a USPS regulation that prohibited

gathering signatures for petitions on postal properties as applied to twelve postal

offices. Id. at 12. The defendants argued that severance would serve the interests

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of justice as they contended that each claim related uniquely to each relative postal

property. Id. at 13. The district court correctly acknowledged that “joinder rules

are interpreted to encourage the broadest possible scope of action consistent with

fairness to the parties” and that the “joinder of claims, parties and remedies is

strongly encouraged.” Id. (citing Gibbs, 383 U.S. at 724) (internal quotations

omitted).

      The district court determined that the eleven out-of-state claims could not be

severed. Each allegation stemmed from a single USPS decision that banned

signature gathering on postal properties. Id. The district court understood that

severing the original case into multiple separate cases would produce both

duplicative litigation and “waste vast amounts of judicial and litigant resources.”

Id. Severance proved improper as each allegation raised a common question of

law attached to the single USPS decision. Id.

      The district court similarly reasoned severance to be improper because each

allegation required a common factual inquiry into each distinct property. Id.

Severance would be improper on those circumstances as each allegation, though

applied to twelve unique postal properties, arose from a single common event. Id.

The interests of justice best would be served if the claims remained together to

allow a single district court to solve all of the similar claims by determining the




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validity of the single underlying USPS decision to ban signature gathering on

postal property. Id.

      Federal Defendants do not argue that Plaintiffs’ claims improperly had been

joined. Federal Defendants instead allege that this Court should sever the seven

out-of-state claims because the claims relate to unique administrative decisions

made by three separate BLM offices in each of the three states. (Doc. 21 at 17).

Federal Defendants point to the fact that the challenged leasing decisions involve

unique parcels of land. Federal Defendants further note that separate BLM offices

outside Montana developed the administrative records that supported the

challenged leasing decisions. (Doc. 21 at 18). Federal Defendants suggest that

these variables, coupled with the administrative complexity, provide cause for

these claims to be severed and decided in the localities where the leased lands lay.

(Doc. 21 at 19).

      This Court denied a similar motion to sever in W. Org. of Res. Councils v.

U.S. Bureau of Land Mgmt., 2017 WL 374705 (D. Mont. Jan. 25, 2017)

(“WORC”). There BLM conducted environmental analyses in multiple Western

states. Id. at *7. BLM reviewed and approved all of the analyses, however, in a

single ROD issued from its Washington D.C. headquarters. Id. The plaintiffs

challenged the BLM decision to approve the single ROD that affected multiple

areas. Id. at *5.

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         The defendants similarly sought to sever the out-of-state claims on the

grounds that the out-of-state claims affected uniquely the local interests of

Wyoming. Id. This Court denied severance. The two environmental analyses in

Montana and Wyoming arose from the single decision of BLM to approve the

ROD that encompassed the analyses in Montana and Wyoming. Id.

         This Court denies Federal Defendants’ current motion to sever the seven

out-of-state claims. Plaintiffs’ claims compare to the claims in USPS and WORC.

In those two cases, as here, Plaintiffs challenge a single action by a federal agency

that presents common questions of law and fact. Plaintiffs allege that the lease

sales at issue violate FLPMA because they follow the Zinke Memo and the 2018

IM. (Doc. 40 at 15). Plaintiffs do not challenge the individual leasing decisions.

Plaintiffs instead bring a facial challenge to the Zinke Memo and the 2018 IM with

separate as-applied challenges that involve the lease sales in three states. (Doc. 40

at 7).

         Plaintiffs properly exercised their right to join “as many claims as it [had]

against an opposing party.” Fed. R. Civ. P. 18(a). Plaintiffs seek the broadest

practicable scope of relief and challenge the legality of the new policy that

supports each lease sale. Plaintiffs’ challenge presents a strategic choice that will

relieve the judicial system of multiple cases involving the same questions of law




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and fact. Accordingly, this Court will deny Federal Defendants’ motion to sever

the seven out-of-state claims to ensure judicial economy.

   B. Transfer

      “For the convenience of the parties and witnesses, in the interests of justice,

a district court may transfer any civil action to any other district court or division

where it might have been brought or to any district or division to which all parties

have consented.” 28 U.S.C. § 1404(a). A transfer proves proper “to prevent the

waste of time, energy and money and to protect litigations, witnesses and the

public against unnecessary inconvenience and expense.” Van Dusen v. Barrack,

376 U.S. 612, 616 (1964) (quotations omitted). The party seeking transfer bears

the burden of demonstrating that the transferee districts provide a more appropriate

forum. See Jones v. GNC Franchising, Inc., 211 F.3d 495, 499 (9th Cir. 2000).

Courts possess broad discretion to transfer cases, but must consider the factors of

convenience and fairness. Id. at 498.

      A district court’s consideration of a transfer pursuant to § 1404(a) involves

two steps. A district court first must decide whether the action originally could

have been brought in the proposed transferee districts. Hatch v. Reliance Ins. Co.,

758 F.2d 409, 414 (9th Cir. 1985). If the answer is yes, then the district court must

make an individualized, case-specific, analysis of convenience and fairness to the

parties and witness, and an assessment of the interests of justice. See Jones, 211

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F.3d at 498-99. This assessment incorporates multiple factors, including: (1) the

convenience of the parties and witnesses; (2) familiarity of each forum with the

applicable law; (3) the plaintiffs’ choice of forum; (4) contacts of the different

parties with the forum; (5) local interest in the controversy; (6) the ease of access

to sources of proof and evidence; and (7) relative congestion in each forum. Id.

      1. Step One: Where the Action Might Have Been Brought

      The Court first must evaluate whether this action might have been brought in

the District of Wyoming or the District of Nevada. Hatch, 758 F.2d at 414. Venue

proves proper in a civil action against an official or agency of the United States

under any of the following circumstances: (1) when brought in a judicial district

where a defendant in the action resides; (2) a substantial part of the events or

omissions giving rise to the claim occurred, or a substantial part of property that is

the subject of the action is situated; or (3) where the plaintiff resides if the action

involves no real property. 28 U.S.C. § 1391(e)(1).

      Federal Defendants claim that the transferee District of Wyoming and

District of Nevada represent proper venues. Federal Defendants first note that

BLM operates offices in both of the other districts. Federal Defendants next

contend the decision-making processes occurred in the transferee districts. And

finally, the Federal Defendants argue the properties subject to those decisions sit in

those transferee districts. (Doc. 21 at 20). This Court disagrees and adopts the

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analysis in W. Watersheds Project v. Zinke, 2018 WL 4210774 (D. Idaho Sept. 4,

2018), from the United States District Court for the District of Idaho.

      At the outset, it should be noted that the law remains unsettled whether

“federal government defendants reside in every judicial district in which an agency

has a regional office.” W. Watersheds Project, 2018 WL 4210774, at *4; see Tsi

Akim Maidu of Taylorsville Rancheria v. United States Dep't of Interior, 2017 WL

2289203, at *2 (N.D. Cal. 2017) (citing Williams v. United States, 2001 WL

1352885, at *1 (N.D. Cal. 2001). The Seventh Circuit in Reuben H. Donnelly

Corp. v. Federal Trade Comm'n, 580 F.2d 264, 267 (7th Cir. 1978), explained that

“to hold that a federal agency can be sued . . . wherever it maintains an office

would, as a practical matter, render [§ 1391(e)'s other subsections] superfluous” as

most federal agencies likely maintain offices in “most, if not all, judicial districts.”

See California v. Bureau of Land Mgmt., 2018 WL 3439453, at *3 (N.D. Cal.

2018). The more prudent course for purposes of § 1391(e) leads to the conclusion

that federal agency defendants reside in the District of Columbia where agency

headquarters are located and where they make agency decisions. See Zhang v.

Chertoff, 2008 WL 5271995, at *3 (N.D. Cal. 2008) (citing Williams, 2001 WL

1352885 at *1; Reuben, 580 F.2d at 267).

      Venue with respect to a federal officer or employee remains proper in the

place of their official residence—in other words, where they perform their official

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duties. See Reuben, 580 F.2d at 266, n.3. Here, neither BLM itself nor any of the

individual Federal Defendants reside in Wyoming or Nevada. The District of

Montana represents a proper venue because two of the five Plaintiffs—Montana

Wildlife Federation and Montana Audubon—are based in the District of Montana.

(Doc. 40 at 22).

       Next, §1391(e)(1)(B) directs that venue proves proper if (1) a “substantial

part of the events . . . giving rise to the claim” took place in the proposed transferee

districts, or (2) that a “substantial part of the property that is the subject of the

action” sits in the proposed transferee districts. 28 U.S.C. §1391(e)(1)(B). The

fact that the federal government leased oil or gas development rights to non-

governmental entities inside state boundaries does not necessarily satisfy these

criteria here. Plaintiffs do not challenge how a local BLM office handled a lease

sale. Plaintiffs challenge, rather, the 2018 IM and the Zinke Memo that allowed

the leasing decisions.

       Plaintiffs contend that Federal Defendants violated federal law in issuing

these oil and gas leases through reliance on the 2018 IM and the Zinke Memo by

“disregarding established mandates for the way oil and gas lease sales are handled

on public lands that affect sage-grouse habitat populations.” W. Watersheds

Project, 2018 WL 4210774, at *4. These claims belie characterization as a

“generic challenge” to an agency action of the type proscribed by Lujan v.

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National Wildlife Fed’n, 497 U.S. 871 (1990). Plaintiffs’ claims follow the legal

and geographic contours of the challenged federal actions. W. Watersheds Project,

2018 WL 4210774, at *5. These legal and geographic contours follow “a very

large pattern which is not random in nature.” Id. This pattern traces the

consequences of the alleged unlawful national directives in the form of local lease

sales in Montana, Wyoming, and Nevada. As a result, “the possible transfer of the

action in whole or in pieces to some other federal court or courts stumbles at the

gate.” Id.

      2. Convenience, Fairness, and Interests of Justice

      The Court still will examine the other factors that inform a possible change

in venue. A plaintiff’s choice of forum is entitled to deference. Lou v. Belzberg,

834 F.2d 730, 739 (9th Cir. 1987). Federal Defendants must make a “strong

showing” of inconvenience to warrant upsetting that choice. Decker Coal Co. v.

Commonwealth Edison Co., 805 F.2d 834, 843 (9th Cir. 1986). Federal

Defendants cite three factors in support of their argument for transfer: (1) the need

to have localized controversies decided at home; (2) to promote consistency among

court rulings; and (3) to relieve court congestion in the District of Montana. (Doc.

21 at 21-29).

      The Court assumes that state-specific interests arise in the discussion of oil

and gas lease sales. (Doc. 21 at 21-26). The subject-matter of this lawsuit,

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however, proves much more expansive than any as-applied challenge to a

particular lease decision. Plaintiffs allege that the lease sales at issue share a

common defect in the form of the violation of federal law stemming from revised

national directives. Plaintiffs allege that these directives, in turn, result in

cumulative impacts that threaten sage-grouse range-wide. (Doc. 40 at 23-29).

Plaintiffs do not raise claims specific to any particular transferee district. W.

Watersheds Project, 2018 WL 4210774, at *6. Likewise, nothing about the fact

of the underlying lease sales and any corresponding local interest in these lease

sales “raises a compelling argument in favor of transfer.” Id. In short, the leases

may be local, but the challenged national directives that allowed for the leases

present less parochial concerns.

      The district court in W. Watersheds Project v. Salazar, 2009 WL 1299626

(D. Idaho May 7, 2009), considered a similar situation involving federal agency

actions related to sage-grouse management. The plaintiff alleged overarching

NEPA and FLPMA violations that affected sage-grouse range-wide. Id.

The district court explained that “the issues do not break down neatly into home

judicial districts.” Id. at *3. Whether BLM considered the cumulative impact of

factors acting in a widespread area stretching beyond mere land boundaries

represented the key issue. Id.




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       The district court explained that the plaintiff’s allegations would “require a

court to analyze effects beyond the borders of its judicial districts.” Id. This

requirement forced the district court to afford “less weight” to the traditional desire

“to let disputes be resolved in their home court.” Id. The district court recognized

that the resolving court likely would be “considering cumulative impacts in other

judicial districts.” Id.

       Plaintiffs’ arguments guide this Court to the same conclusion. Plaintiffs

make an as-applied challenge to the national directives implemented across many

Western states. (Doc. 40 at 23). The issues presented may not break down neatly

into home judicial districts. Like in Salazar, a key issue in this case involves the

national directives’ cumulative impact to the “habitats necessary to support greater

sage-grouse populations [that] do not conform to state lines.” (Doc. 40 at 25).

This Court’s analysis and single decision efficiently will encompass the cumulative

impacts of the allegedly unlawful national directives to sage-grouse habitats

beyond the borders of Montana.

       Federal Defendants propose that breaking this case into multiple pieces and

spreading it elsewhere would prevent inconsistent rulings. (Doc. 21 at 26-28).

Plaintiffs challenge the legality of the national directives. Keeping this case in the

District of Montana avoids the risk of inconsistent rulings rather than creating such

a risk as Federal Defendants contend. As this Court already has acknowledged, a
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case in the District of Idaho presents similar issues. W. Watersheds Project, 2018

WL 4210774. This fact also offers little reason to consider splitting this case up

into even more possible conflicting judgements.

      As a final point, “whether transfer would relieve congestion in the transferor

district misses the point.” Id. at *7. As the District of Idaho opined, “[a]ny relief

to an already-pressed docket must be contrasted against the ability of the proposed

transferee districts to consider and resolve the case more efficiently.” Id. Nothing

in the record indicates, and the supporting documents fail to show, “that the

proposed transferee districts can guarantee such economies—especially when

considering that severance, by its very nature, necessarily creates multiple

overlapping cases instead of one.” Id.

      In balancing these factors, the Federal Defendants failed to meet their

burden to show that transferring this case in multiple parts to the proposed

transferee districts would be proper.




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                                    ORDER

      Accordingly, IT IS ORDERED that Defendants’ motion to sever (Doc. 20)

the seven out-of-state claims is DENIED. IT IS ORDERED that Defendants’

motion to transfer (Doc. 20) the seven out-of-state claims is DENIED.

      DATED this 6th day of November, 2018.




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